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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF GEORGIA
                                 COLUMBUS DIVISION

 -------------------------------------                       x
 UNIVERSAL POLYGRAM INTERNATIONAL                            :
 PUBLISHING, INC., WOZNIAK PUBLISHING,                       :   Civil Action No.
 DIVINE PIMP PUBLISHING, KEY CLUB MUSIC,                     :
 LELLOW PRODUCTIONS, INC., and BOOK OF                       :
 DANIEL MUSIC,                                               :
                                                             :
                                               Plaintiffs,   :
   -against-                                                 :       COMPLAINT
                                                             :
                                                             :
 KAYCAM INVESTMENTS, L.L.C., STEPHANIE                       :
 O’NEAL and JOSHUA O’NEAL,                                   :
                                Defendants.                  :
                                                             x
 -------------------------------------
 -

               Plaintiffs, by their undersigned attorneys, allege:

       1.      This is a suit for copyright infringement under Title 17 of the United States Code.

       2.      This Court has jurisdiction pursuant to 28 U.S.C. § 1338(a), and venue in this District

is proper pursuant to 28 U.S.C.§ 1400(a).

       3.      Plaintiffs allege four (4) causes of action for copyright infringement based on the

Defendants’ public performances of Plaintiffs’ copyrighted musical compositions. SCHEDULE A,

annexed to the Complaint, sets forth in summary form the allegations hereinafter made with respect

to the Plaintiffs, their copyrighted musical compositions, and Defendants’ acts of infringement.
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                                           THE PARTIES

         4.      The Plaintiffs named in Column 2* are the owners of the copyrights in the original

musical compositions listed in Column 3, and are properly joined in this complaint under Rule 20 of

the Federal Rules of Civil Procedure.

         5.      On information and belief, Defendant Kaycam Investments, L.L.C. (“Kaycam”) is a

limited liability company organized under the laws of the state of Georgia with offices at 1111

Broadway, Columbus, Georgia 31901.

         6.      At all times hereinafter mentioned, Kaycam did, and still does, own, control, manage,

operate, and maintain a place of business for public entertainment, accommodation, amusement, and

refreshment known as The Hooch, located at 1039 Broadway, Columbus, Georgia 31901.

         7.      Musical compositions were and are publicly performed at the Hooch.

         8.      On information and belief, Defendant Stephanie O’Neal is an individual who resides

and/or does business in this district.

         9.      On information and belief, Defendant Joshua O’Neal (Joshua O’Neal and, together

with Kaycam and Stephanie O’Neal, the “Defendants”) is an individual who resides and/or does

business in this district.

         10.     At all times hereinafter mentioned, Stephanie O’Neal and Joshua O’Neal were, and

still are, members and/or principals of Kaycam.

         11.     At all times hereinafter mentioned, Stephanie O’Neal and Joshua O’Neal were, and

still are, responsible for the control, management, operation and maintenance of the affairs of

Kaycam.




* All   references to “columns” herein refer to the numbered columns set forth in SCHEDULE A.


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       12.       At all times hereinafter mentioned, Defendants jointly had, and still have, the right

and ability to supervise and control the activities that take place at The Hooch, including the right

and ability to supervise and control the public performance of musical compositions at The Hooch.

       13.       Each Defendant derives a direct financial benefit from the public performance of

musical compositions at The Hooch.

                 FACTS SPECIFIC TO DEFENDANTS’ INFRINGEMENT OF
                 PLAINTIFFS’ COPYRIGHTED MUSICAL COMPOSITIONS

       14.       The Plaintiffs are all members of the American Society of Composers, Authors, and

Publishers (“ASCAP”), a membership association that represents, licenses, and protects the public

performance rights of its more than 660,000 songwriter, composer, and music publisher members.

       15.       Each ASCAP member grants to ASCAP a non-exclusive right to license the

performing rights in that member’s copyrighted musical compositions. On behalf of its members,

ASCAP licenses public performances of its members’ musical works, collects license fees associated

with those performances, and distributes royalties to its members, less ASCAP’s operating expenses.

       16.       Since November 2015, ASCAP representatives have made more than sixty (60)

attempts to contact the Defendants, or their representatives, agents, or employees, to offer an

ASCAP license for The Hooch. ASCAP has contacted Defendants by phone, by mail, by e-mail,

and in person.

       17.       Defendants have refused all of ASCAP’s license offers for The Hooch.

       18.       ASCAP’s various communications gave Defendants notice that unlicensed

performances of ASCAP’s members’ musical compositions at the Hooch constitute copyright

infringement of ASCAP’s members’ copyrights in their musical works.

       19.       Notwithstanding the foregoing, Defendants have continued to present public

performances of the copyrighted musical compositions of ASCAP members at the Hooch, including


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the copyrighted works involved in this action, without permission, during the hours that the

establishment is open to the public for business and presenting musical entertainment.

        20.     The original musical compositions listed in Column 3 were created and written by the

persons named in Column 4.

        21.     Each composition was published on the date stated in Column 5, and since the date of

publication has been printed and published in strict conformity with Title 17 of the United States

Code.

        22.     The Plaintiffs named in each cause of action, including their predecessors in interest,

if any, complied in all respects with Title 17 of the United States Code, secured the exclusive rights

and privileges in and to the copyright of each composition listed in Column 3, and received from the

Register of Copyrights a Certificate of Registration, identified as set forth in Column 6.

        23.     Defendants on the dates specified in Column 7, and upon information and belief, at

other times prior and subsequent thereto, infringed the copyright in each composition named in

Column 3 by performing publicly the compositions at the Hooch, for the entertainment and

amusement of the patrons attending said premises, and Defendants threaten to continue such in-

fringing performances.

        24.     The public performances at the Hooch of the Plaintiffs’ copyrighted musical

compositions on the dates specified in Column 7 were unauthorized: neither Defendants, nor any of

the Defendants’ agents, servants or employees, nor any performer was licensed by, or otherwise

received permission from any Plaintiff, or any agent, servant, or employee of any Plaintiff, to give

such performances.

        25.     In undertaking the conduct complained of in this action, Defendants knowingly and

intentionally violated Plaintiffs' rights.



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           26.    The many unauthorized performances at the Hooch include the performances of the

four copyrighted musical compositions upon which this action is based.

           27.    At the times of the acts of infringement complained of, the Plaintiff named in each

cause of action was an owner of the copyright in the composition therein named.

           28.    The said wrongful acts of Defendants have caused and are causing great injury to the

Plaintiffs, which damage cannot be accurately computed, and unless this Court restrains Defendants

from the further commission of said acts, said Plaintiffs will suffer irreparable injury, for all of

which the said Plaintiffs are without any adequate remedy at law.

           WHEREFORE, Plaintiffs pray:

      I.         That Defendants and all persons acting under the direction, control, permission or

authority of Defendants be enjoined and restrained permanently from publicly performing the

aforementioned compositions -- or any of them -- and from causing or permitting the said

compositions to be publicly performed at the Hooch, or at any place owned, controlled, managed, or

operated by Defendants, and from aiding or abetting the public performance of such compositions in

any such place or otherwise.

     II.         That Defendants be decreed to pay such statutory damages as to the Court shall appear

just, as specified in 17 U.S.C. § 504(c)(1), namely, not more than Thirty Thousand Dollars ($30,000)

nor less than Seven Hundred And Fifty Dollars ($750) in each cause of action herein.

    III.         That Defendants be decreed to pay the costs of this action and that a reasonable

attorney's fee be allowed as part of the costs.

    IV.          For such other and further relief as may be just and equitable.


           This 5th day of June 2018.




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                                 Respectfully submitted,

                                 HOLLAND & KNIGHT LLP

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 Schedule A
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Columns
1        2             3              4                    5                     6                7


Cause                                                                            Certificate of
of                     Musical                                                   Registration     Date of Known
Action   Plaintiff     Composition    Writers              Date of Publication   Number           Infringement

1.       UNIVERSAL     MR.            Brandon Flowers      June 7, 2004          PA 1-349-355     March 15, 2018
         POLYGRAM      BRIGHTSIDE
         INTERNATION                  Dave Brent
         AL                           Keuning
         PUBLISHING,
         INC.                         Mark A. Stoermer

                                      Ronnie Vannucci

2.       WOZNIAK       SEX AND        John K. Wozniak      February 25, 1997     PA 892-154       March 16, 2018
         PUBLISHING    CANDY


3.       DIVINE PIMP   TYRONE         Erica Wright         November 18, 1997     PA 875-755       March 16, 2018
         PUBLISHING
                                      Norman D. Hurt
         KEY CLUB
         MUSIC


4.       LELLOW        DIARY          Alicia J. Augello-   December 2, 2003      PA 1-158-368     March 16, 2018
         PRODUCTION,                  Cook
         INC.
                                      Kerry D. Brothers
         BOOK OF
         DANIEL
         MUSIC
